Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 1 of 51 Page ID #:2944
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 2 of 51 Page ID #:2945
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 3 of 51 Page ID #:2946
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 4 of 51 Page ID #:2947
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 5 of 51 Page ID #:2948
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 6 of 51 Page ID #:2949
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 7 of 51 Page ID #:2950
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 8 of 51 Page ID #:2951
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 9 of 51 Page ID #:2952
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 10 of 51 Page ID
                                  #:2953
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 11 of 51 Page ID
                                  #:2954
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 12 of 51 Page ID
                                  #:2955
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 13 of 51 Page ID
                                  #:2956
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 14 of 51 Page ID
                                  #:2957
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 15 of 51 Page ID
                                  #:2958
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 16 of 51 Page ID
                                  #:2959
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 17 of 51 Page ID
                                  #:2960
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 18 of 51 Page ID
                                  #:2961
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 19 of 51 Page ID
                                  #:2962
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 20 of 51 Page ID
                                  #:2963
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 21 of 51 Page ID
                                  #:2964
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 22 of 51 Page ID
                                  #:2965
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 23 of 51 Page ID
                                  #:2966
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 24 of 51 Page ID
                                  #:2967
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 25 of 51 Page ID
                                  #:2968
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 26 of 51 Page ID
                                  #:2969
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 27 of 51 Page ID
                                  #:2970
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 28 of 51 Page ID
                                  #:2971
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 29 of 51 Page ID
                                  #:2972
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 30 of 51 Page ID
                                  #:2973
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 31 of 51 Page ID
                                  #:2974
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 32 of 51 Page ID
                                  #:2975
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 33 of 51 Page ID
                                  #:2976
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 34 of 51 Page ID
                                  #:2977
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 35 of 51 Page ID
                                  #:2978
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 36 of 51 Page ID
                                  #:2979
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 37 of 51 Page ID
                                  #:2980
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 38 of 51 Page ID
                                  #:2981
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 39 of 51 Page ID
                                  #:2982
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 40 of 51 Page ID
                                  #:2983
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 41 of 51 Page ID
                                  #:2984
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 42 of 51 Page ID
                                  #:2985
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 43 of 51 Page ID
                                  #:2986
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 44 of 51 Page ID
                                  #:2987
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 45 of 51 Page ID
                                  #:2988
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 46 of 51 Page ID
                                  #:2989
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 47 of 51 Page ID
                                  #:2990
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 48 of 51 Page ID
                                  #:2991
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 49 of 51 Page ID
                                  #:2992
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 50 of 51 Page ID
                                  #:2993
Case 2:11-cv-07147-GHK-E Document 204-2 Filed 01/19/16 Page 51 of 51 Page ID
                                  #:2994
